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                                       UNITED STATES
                           SECURITIES AND EXCHANGE COMMISSION
                                 DENVER REGIONAL OFFICE
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                                       September 22, 2017

Honorable Denise Cote
U.S. District Court for the
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007

       Re:     SEC v. Alpine Securities Corporation, 1:17-CV-04179-DLC

Dear Judge Cote:

        Pursuant to Fed. R. Civ. P. 26(c) and the Court’s direction during the initial pretrial
conference held in this matter on September 15, 2017, the Securities and Exchange Commission
(“SEC”) and Defendant Alpine Securities Corporation (“Alpine”) jointly submit the enclosed
protective order for the Court’s consideration.

        The parties have conferred about the proposed order and, except for two related
provisions, have stipulated to its contents. The disputed provisions appear in paragraphs 5(d)
and 6, where the disputed provisions are emphasized in bold and underline typeface. These
provisions permit the use of certain Discovery Material in connection with “any parallel criminal
case” and disclosure of Discovery Material to “government personnel in connection with any
parallel criminal case.” The SEC requests that the order include the emphasized provisions and
Alpine requests that the Court strike the emphasized provisions. The parties’ respective
positions on this dispute are set forth below.

        The SEC requests that the Court include the emphasized provisions in paragraphs 5(d)
and 6 because there is no reason that this protective order, which is designed to protect the
confidentiality of Suspicious Activity Reports (“SARs”), should prohibit the SEC from sharing
evidence gathered through discovery with criminal authorities. Cooperating with criminal
authorities is an important component of the SEC’s enforcement mission. The federal securities
laws expressly permit the SEC to share information with other government agencies and to
provide information to the Department of Justice for it to determine whether to institute criminal
proceedings. See Securities Exchange Act of 1934, Section 21(d); 17 C.F.R. § 240.24.c-1. The
Defendant asserts that it would be improper for the SEC to conduct a “de facto criminal
investigation using nominally civil means” but does not even suggest that this is taking place in
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this case. It is not. The SEC is conducting this litigation independently of any other
governmental agency and will use discovery to advance its own litigation purposes. In the event
that the SEC receives evidence in discovery that is potentially relevant to criminal violations, this
protective order should not restrict its ability to share the evidence with the criminal authorities.
Further, the purpose of this protective order is to protect the confidentiality of SARs—it is not to
shield information from government agencies. Preventing the SEC from sharing SAR material
with government agencies who agree to be bound by the order does not serve the purpose of the
order.

         Alpine will not stipulate to the SEC sharing information in a parallel criminal case
because such a stipulation may result as a waiver of criminal defenses and rights, including 5th
Amendment protections for Alpine and its employees, who may give testimony in this matter
without knowing how it could affect their rights in a yet unknown criminal
proceeding. Furthermore, even if the SEC does have a general right to share information with
other governmental agencies, this right is not absolute, particularly where a civil action has been
commenced in connection with a criminal investigation or proceeding. Simply put, the
government generally cannot use civil discovery procedures to act as a stalking horse to acquire
information for criminal proceedings. See generally Sterling Nat. Bank v. A-1 Hotels
Intern., Inc., 175 F.Supp.2d 573, 578-79 (S.D.N.Y. 2001) (observing that where "the government
itself has an opportunity to escalate the pressure on defendants by manipulating simultaneous
civil and criminal proceedings, both of which it controls . . . there is a special danger that the
government can effectively undermine rights that would exist in a criminal investigation by
conducting a de facto criminal investigation using nominally civil means."). Because the “right”
to share information is not absolute, it is inappropriate to have the Court issue a ruling at this
time that sharing information is acceptable. Alpine is understandably apprehensive of the use of
the civil discovery process to gather information for the primary benefit of the criminal
investigation, and the prejudice that could result, including possible waiver of rights. Alpine
disagrees that SEC Forms 1661 and 1662 are applicable here, as they appear to apply only in the
investigative phase, not once the SEC has commenced an enforcement proceeding in Court.

        Accordingly, the parties request that the Court enter the enclosed protective order after
resolving the dispute described above.



                                                      Sincerely,

                                                      s/ Zachary T. Carlyle
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                                  s/ Brent R. Baker
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